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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                            CHARLOTTESVILLE DIVISION


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  BABY DOE, A CITIZEN OF AFGHANISTAN     :
  CURRENTLY RESIDING IN NORTH            :
  CAROLINA, BY AND THROUGH NEXT          :                CIVIL ACTION NO. 3:22-CV-49
  FRIENDS, JOHN AND JANE DOE;AND JOHN :
  AND JANE DOE, CITIZENS OF AFGHANISTAN :
  AND LEGAL GUARDIANS OF BABY DOE,       :
                                         :
       Plaintiffs,                       :
                                         :
  v.                                     :
                                         :
  JOSHUA MAST, STEPHANIE MAST, RICHARD :
  MAST, KIMBERLEY MOTLEY, AND AHMAD :
  OSMANI,                                :
                                         :
       Defendants,                    :
                                       :
  and                                  :
                                       :
  UNITED STATES SECRETARY OF STATE    :
  ANTONY BLINKEN AND UNITED STATES :
  SECRETARY OF DEFENSE GENERAL         :
  LLOYD AUSTIN,                       :
                                      :
       Nominal Defendants.            :

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                          SECOND AMENDED PRETRIAL ORDER

         Having considered the Joint Motion to Modify Amended Pretrial Order, the Court hereby

  ORDERS that the Pretrial Order (ECF No. 81) is modified as follows:

   Event                                      Revised Deadline
   Plaintiffs’ Initial Expert Disclosures     May 24, 2023
   Defendants’ Initial Expert Disclosures     June 8, 2023
   Deadline to Complete Discovery             90 days before trial date
   Deadline to File Dispositive Motions       75 days before trial date
   Deadline for Hearing Dispositive Motions   45 days before trial date

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        It is so ORDERED.



        Entered: January 26, 2023




                                     _______________________________
                                     Joel C. Hoppe
                                     United States Magistrate Judge




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